          Case 2:20-cv-09582-JFW-E Document 432 Filed 08/24/22 Page 1 of 51 Page ID #:33563
                                                                                                      FILED
 LIST OF EXHIBITS AND WITNESSES                                                             CLERK, U.S. DISTRICT COURT



 Judge               JOHN F. WALTER                                                                   8/24/22

 Case Numbers        CV 20-9582-JFW(Ex) and CV 20-10844-JFW(Ex)                                          sr
                                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                                            BY: ___________________ DEPUTY


 Titles              Vanessa Bryant -v- C01mty of Los Angeles, et al.
                     Christopher L. Chester et al. -v- County of Los Angeles, et al.
 Dates of Trial      August 10, 2022; August 11, 2022; August 12, 2022; August 15, 2022; August 16, 2022;
                     August 17; 2022; August 18, 2022; August 19, 2022: August 22, 2022; August 23, 2022;
                     August 24, 2022
 Court Reporters     Miranda AlgoITi                        Myra Ponce (August 23, 2022 p.m.)
 Deputy Clerk        Shannon Reilly
 Attorneys for Plaintiffs                                   Attorneys for Defendants
 Luis Li                                                    Jennifer Mira Hashmall
 Jerome M. Jackson                                          Jason H. Tokoro
 Craig Almand Lavoie                                        Casey Blair Sypek
 Eric P. Tuttle
 Jennifer Lynn Bryant


 WITNESSES                        DATE(S) TESTIFIED


 See attached




 EXHIBIT LIST


 See attached




G-65
    Case 2:20-cv-09582-JFW-E Document 432 Filed 08/24/22 Page 2 of 51 Page ID #:33564



        WITNESS NAME             DATE(S) TESTIFIED
PLAINTIFFS
1       Pelinka, Rob             August 10, 2022; August 11, 2022

2       Katz, David              August 11 , 2022

3       Tauscher, Emily          August 11 , 2022

4       Gutierrez, Victor        August 11 , 2022

5       Mendez, Ralph Jr.        August 11 , 2022

6       Weireter, Luella         August 12, 2022

7       Bercovici, Adam          August 12, 2022

8       Johnson, Doug            August 12, 2022

9       Jordan, Brian            August 15, 2022

10      V ersales, Raul          August 15, 2022

11      Cruz, Joey               August 15, 2022; August 16, 2022

12      Russell, Michael         August 16, 2022

13      Bonelli, Nicholas        August 16, 2022

14      V ander Horck, Matthew   August 16, 2022

15      Valdez, Jorge            August 16, 2022; August 17, 2022

16      Freskos, David           August 17, 2022

17      Imbrenda, Tony           August 17, 2022

18      Scott, Erik              August 17, 2022

19      Cornell, Sky             August 18, 2022

20      Kahan, Arlin             August 18, 2022

21      McCloud, William         August 18, 2022

22      Westhead, Paul Jr.       August 18, 2022

23      Chester, Chris           August 18, 2022

24      Bryant, Vanessa          August 19, 2022
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     WITNESS NAME             DATE(S) TESTIFIED
26   William Jaeger           August 22, 2022

DEFENDANTS
25   Villanueva, Alex         August 19, 2022

27   Marrone, Anthony         August 22, 2022

28   McGuire, Kristina        August 22, 2022

29   Kelly, Travis            August 22, 2022; August 23, 2022

30   Mancinas, Hector         August 23 , 2022

31   Breshears, Dennis        August 23 , 2022

32   Smith, Andrew            August 23 , 2022
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                                             JOINT TRIAL EXHIBIT LIST

Ex. No.                                 Description                                       Identified        Admitted

             Email string between R. Mendez and T.    August 11 , 2022                                   August 11 , 2022
   1         Schrader (LASD) re Contact us - LASD.Org
             "Kobe"

             Channel 7 of COLA001424 - California
  2A         Baja Bar & Grill Surveillance Footage -
             1/28/2020, 20:20-20:3 1

             Channel 8 of COLA001424 - California                                     August 11 , 2022   August 11 , 2022
  2B         Baja Bar & Grill Surveillance Footage -
             1/28/2020, 20:20-20:3 1

             Channel 9 of COLA001424 - California
  2C         Baja Bar & Grill Surveillance Footage -
             1/28/2020, 20:20-20:3 1

             Channel 11 of COLA001424 - California
  2D         Baja Bar & Grill Surveillance Footage -
             1/28/2020, 20:20-20:3 1

             Channel 13 of COLA001424 - California
  2E         Baja Bar & Grill Surveillance Footage -
             1/28/2020, 20:20-20:3 1

             Channel 15 of COLA001424 - California
  2F         Baja Bar & Grill Surveillance Footage -
             1/28/2020, 20:20-20:3 1

             Channel 16 of COLA001424 - California
  2G         Baja Bar & Grill Surveillance Footage -
             1/28/2020, 20:20-20:3 1




  LA 20 CV 09582 JFW(Ex) and LA 20 CV 10844 JFW(EX) Bryant Joint Trial Exhibit List
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Ex. No.                  Description                    Identified        Admitted

          Channel 7 of COLA001430 - California
  3A      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 21:21-21:32

          Channel 8 of COLA001430 - California      August 16, 2022    August 16, 2022
  3B      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 21:21-21:32

          Channel 9 of COLA001430 - California
  3C      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 21:21-21:32

          Channel 11 of COLA001430 - California
  3D      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 21:21-21:32

          Channel 13 of COLA001430 - California
  3E      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 21:21-21:32

          Channel 15 of COLA001430 - California     August 11 , 2022   August 11 , 2022
  3F      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 21:21-21:32

          Channel 16 of COLA001430 - California
  3G      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 21:21-21:32

          Channel 7 ofCOLA001431 - California
  4A      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 21:32-21 :42




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Ex. No.                  Description                    Identified        Admitted

          Channel 8 ofCOLA001431 - California
  4B      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 2 1:32-21 :42

          Channel 9 ofCOLA001431 - California       August 11 , 2022   August 11 , 2022
  4C      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 2 1:32-21 :42

          Channel 11 of COLA00 1431 - California
  4D      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 2 1:32-21 :42

          Channel 13 ofCOLA001431 - California      August 11 , 2022   August 11 , 2022
  4E      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 2 1:32-21 :42

          Channel 15 ofCOLA001431 - California      August 11 , 2022   August 11 , 2022
  4F      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 2 1:32-21 :42

          Channel 16 of COLA00 1431 - California
  4G      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 2 1:32-21 :42

          Channel 7 of COLA001432 - California
  SA      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 2 1:42-21 :52

          Channel 8 of COLA001432 - California      August 11 , 2022   August 11 , 2022
  SB      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 2 1:42-21 :52




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Ex. No.                  Description                    Identified        Admitted

          Channel 9 of COLA001432 - California
  SC      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 21:42-21 :52

          Channel 11 of COLA001432 - California
  5D      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 21:42-21 :52

          Channel 13 of COLA001432 - California
  SE      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 21:42-21 :52

          Channel 15 of COLA001432 - California     August 11 , 2022   August 11 , 2022
  SF      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 21:42-21 :52

          Channel 16 of COLA001432 - California
  5G      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 21:42-21 :52

          Channel 7 of COLA001434 - California      August 11 , 2022   August 11 , 2022
  6A      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:03-22:13

          Channel 8 of COLA001434 - California      August 11 , 2022   August 11 , 2022
  6B      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:03-22: 13

          Channel 9 of COLA001434 - California
  6C      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:03-22: 13




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Ex. No.                  Description                    Identified        Admitted

          Channel 11 of COLA001434 - California
  6D      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:03-22: 13

          Channel 13 of COLA001434 - California     August 11 , 2022   August 11 , 2022
  6E      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:03-22: 13

          Channel 15 of COLA001434 - California
  6F      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:03-22: 13

          Channel 16 of COLA001434 - California
  6G      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:03-22: 13

          Channel 7 of COLA001435 - California
  7A      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22: 13-22:23

          Channel 8 of COLA001435 - California      August 11 , 2022   August 11 , 2022
  7B      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22: 13-22:23

          Channel 9 of COLA001435 - California
  7C      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22: 13-22:23

          Channel 11 of COLA001435 - California
  7D      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22: 13-22:23




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Ex. No.                  Description                    Identified        Admitted

          Channel 13 of COLA001435 - California     August 11 , 2022   August 11 , 2022
  7E      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22: 13-22:23

          Channel 15 of COLA001435 - California
  7F      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22: 13-22:23

          Channel 16 of COLA001435 - California
  7G      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22: 13-22:23

          Channel 7 of COLA001437 - California
  8A      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:33-22:44

          Channel 8 of COLA001437 - California
  8B      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:33-22:44

          Channel 9 of COLA001437 - California
  8C      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:33-22:44

          Channel 11 of COLA001437 - California
  8D      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:33-22:44

          Channel 13 of COLA001437 - California
  8E      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:33-22:44




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Ex. No.                  Description                    Identified        Admitted

          Channel 15 of COLA001437 - California
  8F      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:33-22:44

          Channel 16 of COLA001437 - California
  8G      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:33-22:44

          Channel 7 of COLA001440 - California
  9A      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:57-23:05

          Channel 8 of COLA001440 - California      August 11 , 2022   August 11 , 2022
  9B      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:57-23:05

          Channel 9 of COLA001440 - California
  9C      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:57-23:05

          Channel 11 of COLA001440 - California
  9D      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:57-23:05

          Channel 13 of COLA001440 - California
  9E      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:57-23:05

          Channel 15 of COLA001440 - California
  9F      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:57-23:05




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Ex. No.                  Description                     Identified        Admitted

          Channel 16 of COLA001440-Califomia
  9G      Baja Bar & Grill Surveillance Footage -
          1/28/2020, 22:57-23:05

          Article: "L.A. County Deputies Shared      August 17, 2022    August 17, 2022
          Graphic Photos of Kobe Bryant Crash Scene,
  12
          Sources Say" by Tchekmedyian, Pringle, LA
          Times

  16      Photo - Google Earth View 1                 August 11, 2022   August 11, 2022

  17      Photo - Google Earth View 1, Annotated      August 16, 2022   August 16, 2022

  18      Photo - Google Earth View 2

  19      Photo - Google Earth View 2, Annotated

          Photo - LASD Lost Hills Station Facebook
  20
          Photo

          LACFD Standards of Behavior                 August 18, 2022   August 18, 2022
  24
          (COLA030147-50)

          Email chain between Sprewell (LACFD),       August 18, 2022   August 18, 2022
          Imbrenda, Cornell, Ferguson, Navarez, Lim
  25
          re LA County Sheriffs deputies allegedly
          shared photos of Bryant crash site

          Letter from McCloud (LACFD) to Jordan re
  26
          Intention to Discharge




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Ex. No.                   Description                      Identified        Admitted

          Sheppard Mullin Investigation Report -
          Alleged Taking and Sharing of Photographs
 26A
          from Willow Incident by Fire Captain Brian
          Jordan, at COLA001351 - COLA001378

          Letter from McCloud (LACFD) to Imbrenda
  27
          re Intention to Discharge

          Letter from McCloud (LACFD) to Kahan re
  28
          Intention to Suspend

          Luis Li Letter to Fire Chief Osby dated      August 19, 2022    August 19, 2022
  31
          March 2, 2020

          Newsletter: "The Backup Newsletter,"         August 11 , 2022   August 11 , 2022
  35      Winter 2020 - California Reserve Peace
          Officers Association Quarterly Newsletter

          Email from Katz to "team02@malibusar.org" August 16, 2022       August 16, 2022
  36
          re Kobe Crash

          Transcript - Excerpts of David Katz LASD     August 12, 2022    August 12, 2022
 38A
          Interview

          Audio - Excerpts of David Katz LASD          August 12, 2022    August 12, 2022
  38B
          Interview

          Transcript - Excerpts of Marcus Phillips     August 23 , 2022   August 23 , 2022
 39A
          LASD Interview

          Audio - Excerpts of Marcus Phillips LASD     August 23 , 2022   August 23 , 2022
  39B
          Interview




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Ex. No.                   Description                     Identified        Admitted

          Sarah Ellen Chester Autopsy Report          August 11 , 2022   August 11 , 2022
  41
          (COLA029922-COLA029941)

          Payton Chester Autopsy Report               August 11 , 2022   August 11 , 2022
  42
          (COLA029802-COLA029821)

          Kobe Bryant Autopsy Report                  August 11 , 2022   August 11 , 2022
  44
          (COLA029905- COLA02992 1)

          Gianna Bryant Autopsy Report                August 11 , 2022   August 11 , 2022
  45
          (COLA029882- COLA029904)

  46      Photo - Google Earth View 3

  47      Photo - Google Earth View 3, Annotated      August 11 , 2022   August 11 , 2022

  48      Photo - Google Earth View 4, Annotated      August 11 , 2022   August 11 , 2022

  49      Alyssa Altobelli autopsy report

  50      Christina Mauser autopsy report

  51      Keri Altobelli autopsy report

  52      John Altobelli autopsy report

          Email chain between J. Diez, H. Mancinas,   August 15, 2022    August 15, 2022
          M. Vander Horck, T. Schrader, R. Mendez,
  53
          "SIB Media24" re FW: Contact US -
          LASD.org "Kobe"

          Email chain between Diez, Mancinas,
  54      Vander Horck, Mendez, "SIB Media24" re
          FW: Contact US - LASD.org "Kobe"


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Ex. No.                  Description                      Identified        Admitted

          Transcript - Excerpts of Hector Mancinas     August 12, 2022   August 12, 2022
 55A
          LASD Interview

          Audio - Excerpts of Hector Mancinas LASD August 12, 2022       August 12, 2022
  55B
          Interview

          Performance Log Entry for Doug Johnson,      August 12, 2022   August 12, 2022
  58
          dated February 27, 2020 (COLA000747)

          Performance Log Entry for Joey Cruz, dated August 16, 2022     August 16, 2022
  59
          February 27, 2020 (COLA000745)

          Performance Log Entry for Michael Russell,
  60
          dated February 27, 2020 (COLA000743)

          Performance Log Entry for Rafael Mejia,      August 15, 2022   August 15, 2022
  61
          dated February 27, 2020 (COLA000744)

          Performance Log Entry for Raul V ersales,    August 15, 2022   August 15, 2022
  62
          dated February 27, 2020 (COLA000746)

          LASD Notice of Completion of Investigation August 15, 2022     August 16, 2022
  63      of Michael Russell, dated August 5, 2020
          (COLA035253-61)

  64      Photo at Golden Mike Awards                  August 12, 2022   August 12, 2022

          Email of January 29, 2020 among Jorge        August 16, 2022   August 16, 2022
          Valdez, Matthew V ander Horck, and John
  70
          Satterfield, titled "Re: Contact US -
          LASD.org 'Kobe'" (COLA007168)




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Ex. No.                   Description                      Identified         Admitted

          Email of February 26, 2020 among Alene       August 16, 2022     August 16, 2022
          Tchekmedyian, Alex Villanueva, Jorge
  72
          Valdez, and Others, titled: "Re: LA Times
          follow up re Lost Hills" (COLA007318)

          LA Times Article of February 28, 2020,        August 11 , 2022   August 11 , 2022
          titled: "Deputies were ordered to delete Kobe
  73
          Bryant crash photos to avoid discipline,
          sources say."

          Email of March 3, 2020 Among Robert
          Boese, Jorge Valdez, and Others, titled
  82
          "DRAFT CALABASA White Sheet
          responses" (COLA007500)

          LASD Watch Commander's Service               August 12, 2022     August 12, 2022
  85      Comment Report dated July 31 , 2016
          (COLA035335)

  86      Photo - Helicopter Identification Information August 22, 2022    August 22, 2022

  87      LAFD Incident Log (COLA030606)

          Transcript - Excerpts of Andrew Smith Fire August 23, 2022       August 23, 2022
 88A
          Dep 't Interview

          Audio - Excerpts of Andrew Smith Fire        August 23, 2022     August 23, 2022
 88B
          Dep 't Interview

          Plaintiff Vanessa Bryant' s Responses &
  89      Objections to Defendant County of Los
          Angeles' s Second Set of Interrogatories




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Ex. No.                   Description                     Identified        Admitted

          Plaintiff Vanessa Bryant's First Amended
          Responses & Objections to Defendant
  90
          County of Los Angeles's First Set of
          Requests for Admission, Nos. 2-6

          Consolidated Complaint for Damages
  91      (Wrongful Death/Survival/ Negligence /
          Helicopter Crash)

          Text Message Exchange between Plaintiff
  94      and Commander Diana Gealta
          (VB00000094-95)

          Transcript - Excerpts of Michael Russell     August 15, 2022   August 15, 2022
 96A
          LASD Interview

          Audio - Excerpts of Michael Russell LASD     August 15, 2022   August 15, 2022
  96B
          Interview

          Michael Russell Memo to Matthew Vander       August 16, 2022   August 16, 2022
          Horck, dated January 30, 2020, titled:
  97
          "Willow Incident Photographs"
          (COLA0007 15)

          Summons in a Civil Action to Michael
  98
          Russell dated March 22, 2021

          (Redacted) Cell Records of Michael Russell
  99
          (COLA035636)

          Rafael Mejia Memo to Matthew Vander          August 15, 2022   August 15, 2022
          Horck dated January 30, 2020, titled:
  10 1
          "Willow Incident Photographs"
          (COLA0007 13)


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Ex. No.                   Description                      Identified        Admitted

          LA Times Article dated September 22, 2020, August 15, 2022      August 15, 2022
          titled: "Vanessa Bryant sues L.A. County
  102
          sheriff, alleging 'cover-up' of Kobe Bryant
          crash photos"

          LA Times Article dated February 27, 2021 ,
          titled "Vanessa Bryant wants to make public
  103
          names of deputies accused of sharing Kobe
          crash photos"

          Email Among Counsel dated March 22, 2021
  104
          Serving Summons on Deputy Defendants

          Summons in a Civil Action to Rafael Mejia
  105
          dated March 22, 2021

          LASD Letter to Rafael Mejia re Notice of     August 15, 2022    August 15, 2022
  108     Completion of Investigation, dated August 5,
          2020 (COLA035244)

          Raul V ersales Memo to Matthew Vander         August 15, 2022   August 15, 2022
          Horck dated January 30, 2020, titled:
  110
          "Willow Incident Photographs"
          (COLA0007 12)

          Transcript - Excerpts of Raul Versales        August 12, 2022   August 12, 2022
 111A
          LASD Interview

          Audio - Excerpts of Raul Versales LASD        August 12, 2022   August 12, 2022
 111B
          Interview

          LASD Letter to Raul Versales re Notice of August 15, 2022       August 15, 2022
  112     Completion of Investigation, dated August 5,
          2020 (COLA035262-69)


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Ex. No.                   Description                         Identified        Admitted

          NBC 4 Article: "Vanessa Bryant Files Claim
  114     Against Sheriffs Department Over Photos of
          Crash Site"

          Email from Joey Cruz to himself dated
  117     January 30, 2020 at 5:52 p.m. , titled "Willow
          Incident" (003304)

          Email from Joey Cruz to himself dated
  118     January 30, 2020 at 6:03 p.m. , titled "Willow
          Incident" (COLA003310)

          Email from Joey Cruz to himself dated
  119     January 30, 2020 at 6:06 p.m., attaching
          "Willow Incident.docx" (COLA003317)

          Email from Joey Cruz to himself dated
  120     January 30, 2020 at 6: 12 p.m., attaching
          "Willow Incident.docx" (COLA003326)

          Email from Joey Cruz to himself dated
  121     January 30, 2020 at 6:21 p.m., attaching
          "Willow Incident.docx" (COLA003330)

          Memo from Joey Cruz to Matthew Vander            August 16, 2022   August 16, 2022
          Horck dated January 30, 2020, titled:
  122
          "Willow Incident Photographs"
          (COLA0007 14)

          Transcript - Excerpts of Joey Cruz LASD          August 15, 2022   August 15, 2022
 123A
          Interview

          Audio - Excerpts of Joey Cruz LASD               August 15, 2022   August 15, 2022
 123B
          Interview


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Ex. No.                   Description                      Identified        Admitted

          Memo from Salvador Becerra to William        August 15, 2022    August 15, 2022
  124     Jaeger dated July 24, 2020 (COLA035214-
          19)

          Transcript - Excerpts of Matthew Vander      August 12, 2022    August 12, 2022
 128A
          Horck LASD Interview

          Audio - Excerpts of Matthew Vander Horck August 12, 2022        August 12, 2022
 128B
          LASD Interview

          Announcement ofVander Horck Transfer
  129
          (COLA0035860)

          Email dated February 20, 2020 Involving
  131     Matthew Vander Horck, titled: "Fw: Contact
          US - LASD.org 'Kobe'" (COLA007303-04)

          Ruby Cable Memo to Matthew Vander            August 23 , 2022   August 23 , 2022
          Horck dated January 30, 2020, titled:
  132
          "Willow Incident Photographs"
          (COLA00072 1)

          Chris Jauregui Memo to Vander Horck re     August 23 , 2022     August 23 , 2022
  133     Willow Incident Photographs, dated January
          31 , 2020 (COLA000720)

          Transcript - Excerpts of Chris Jauregui      August 23 , 2022   August 23 , 2022
 134A
          LASD Interview

          Audio -Excerpts of Chris Jauregui LASD       August 23 , 2022   August 23 , 2022
 134B
          Interview

          Transcript - Excerpts of Scott Miller LASD   August 12, 2022    August 12, 2022
 135A
          Interview No. 1 (Apr. 14, 2020)


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Ex. No.                  Description                       Identified        Admitted

          Audio - Excerpts of Scott Miller LASD        August 12, 2022    August 12, 2022
 135B
          Interview No. 1 (Apr. 14, 2020)

          Transcript - Excerpts of Scott Miller LASD
 136A
          Interview No. 2 (May 5, 2020)

          Audio - Excerpts of Scott Miller LASD
 136B
          Interview No. 2 (May 5, 2020)

          Transcript - Excerpts of Ben Sanchez LASD August 16, 2022       August 16, 2022
 138A
          Interview No. 1 (Mar. 31, 2020)

          Audio - Excerpts of Ben Sanchez LASD         August 16, 2022    August 16, 2022
 138B
          Interview No. 1 (Mar. 31, 2020)

          Doug Johnson Memo to Matthew Vander          August 19, 2022    August 19, 2022
          Horck dated January 31, 2020, titled:
  139
          "Willow Incident - Helicopter Crash"
          (COLA0007 1 l )

          Transcript- Excerpts of Doug Johnson         August 12, 2022    August 12, 2022
 143A
          LASD Interview No. 1 (Mar. 16, 2020)

          Audio -Excerpts of Doug Johnson LASD         August 12, 2022    August 12, 2022
 143B
          Interview No. 1 (Mar. 16, 2020)

          Transcript - Excerpts of Travis Kelly LASD August 12, 2022      August 12, 2022
 144A
          Interview No. 2 (June 30, 2020)

          Audio - Excerpts of Travis Kelly LASD        August 12, 2022    August 12, 2022
 144B
          Interview No. 2 (June 30, 2020)

          Trancript - Excerpts of Travis Kelly LASD    August 23 , 2022   August 23 , 2022
 145A
          Interview No. 1 (Apr. 7, 2020)


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Ex. No.                   Description                     Identified        Admitted

          Audio - Excerpts of Travis Kelly LASD       August 23 , 2022   August 23 , 2022
 145B
          Interview No. 1 (Apr. 7, 2020)

          Travis Kelly Memo to Matthew Vander         August 23 , 2022   August 23 , 2022
          Horck dated January 30, 2020, titled:
  146
          "WILLOW INCIDENT PHOTOGRAPHS"
          (COLA000722)

          LASD Letter to Travis Kelly dated August 8, August 22, 2022    August 22, 2022
  147     2020, titled: "Notification Letter"
          (COLA035225-32)

          Transcript- Excerpts of Nicholas Bonelli    August 12, 2022    August 12, 2022
 149A
          LASD Interview

          Audio - Excerpts of Nicholas Bonelli LASD August 12, 2022      August 12, 2022
 149B
          Interview

  151     Google Earth image (wide)

          Email dated January 29, 2020 Among Sheriff August 16, 2022     August 16, 2022
          Villanueva, John Burcher, and Others, titled:
  154
          "FW: Contact US - LASD.org 'Kobe'"
          (COLA007 145-46)

          LASD Press Release re Crash Scene Photos, August 16, 2022      August 16, 2022
  155
          dated February 28, 2020

          Letter from Luis Li to Sheriff Villanueva   August 19, 2022    August 19, 2022
  156
          dated March 2, 2020

          Brian Jordan Cell Phone Records
  158
          (VB00000104-575)



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Ex. No.                   Description                      Identified        Admitted

          Memo from Marrone to Jordan re Direct         August 17, 2022   August 17, 2022
  162
          Order dated May 29, 2020 (COLA035089)

          Stipulation Regarding Protocol for Forensic
  172
          Examination

          Acknowledgement of Protocol and
  173
          Directives

  174     Chart of Custodian Information                August 17, 2022   August 17, 2022

  175     Investigative Analysis Prepared for Parties   August 17, 2022   August 17, 2022

          Cellebrite Extraction Report (COLA037560-
 178*
          920)

  180     Fire Dispatch Log (COLA029973-78)             August 18, 2022   August 18, 2022

          Verizon Wireless Call Log (COLA030639-
  182
          41)

          Text Messages between Monica Arnold and
  185     Vanessa Bryant (ARNOLD00000l) (Monica
          Arnold Deposition Exhibit 2)

          Text Messages between Catherine Gasol and
  188     Vanessa Bryant (GASOL00000l) (Catherine
          Gasol Deposition Exhibit 1)

          LAFD Direct Order from Marrone to Kahan August 17, 2022         August 17, 2022
  192
          (COLA035088)

          Transcript of Excerpts of Villanueva Press    August 12, 2022   August 12, 2022
 300A
          Briefing - COLA001200


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Ex. No.                   Description                      Identified        Admitted

          Video Excerpts of Villanueva Press Briefing August 12, 2022     August 12, 2022
 300B
          - COLA001200

          Transcript of Excerpts of Villanueva Fox 11   August 12, 2022   August 12, 2022
 302A
          Interview - VB00003622

          Video Excerpts of Villanueva Fox 11           August 12, 2022   August 12, 2022
 302B
          Interview - VB00003622

          Transcript of Excerpts of Villanueva ABC 7 August 12, 2022      August 12, 2022
 303A
          Interview - COLA001182

          Video Excerpts of Villanueva ABC 7            August 12, 2022   August 12, 2022
 303B
          Interview - COLA001182

          Transcript of Excerpts of Villanueva          August 12, 2022   August 12, 2022
 304A
          KNXl 070 Interview - COLA006932

          Audio Excerpts of Villanueva KNX1070          August 12, 2022   August 12, 2022
 304B
          Interview - COLA006932

          Transcript of Excerpts of Villanueva NBC      August 12, 2022   August 12, 2022
 305A
          Interview - COLA030878

          Audio Excerpts of Villanueva NBC              August 12, 2022   August 12, 2022
 305B
          Interview - COLA030878

          Transcript of Excerpt of Villanueva & Other August 11 , 2022    August 11 , 2022
 306A     LASD Statements to LA Times Audio
          Recording

          Audio Excerpt of Villanueva & Other LASD August 11 , 2022       August 11 , 2022
 306B
          Statements to LA Times Audio Recording



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Ex. No.                   Description                      Identified         Admitted

          LASD Request for IAB Investigation, dated     August 19, 2022   August 19, 2022
  307
          February 28, 2020 (COLA000906)

          LASD Response to Vanessa Bryant Notice
  308     of Claim, dated May 11 , 2020
          (VB0000000 1)

          Jack Altura Ltr. to Luis Li re "Response to   August 19, 2022   August 19, 2022
  310     March 2, 2020 Letter to Chief Osby," dated
          March 26, 2020 (VB00000004)

          Vanessa Bryant Notice of Claim on LA
  312     County Fire Department, dated July 20, 2020
          (VB000000l 1)

          Vanessa Bryant Notice of Claim on LA
  314     County Sheriffs Department, dated May 7,
          2020 (VB00000020)

          Jack Altura Ltr. to Luis Li re "Response to  August 19, 2022    August 19, 2022
  315     March 2, 2020 Letter to Sheriff Villanueva,"
          dated March 26, 2020 (VB00000039)

          lnstagram Message to Plaintiff from           August 19, 2022   August 19, 2022
  317     bhbb7231: "Ima leak Kobe's body"
          (VB00000048)                                                    As to Ms. B1y ant


          Annotated Photo Posted on Social Media
  318     ("Both legs with knees in air")
          (VB00000049)

          Photo of Wreckage and Pink Blanket
  319
          (VB00000050)




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Ex. No.                   Description                      Identified         Admitted

          Taunting Message to Mrs. Bryant on Social
  320
          Media (VB0000005 l)

                                                        August 19, 2022   August 19, 2022
          Twitter Post with Photos of Accident Scene,
  321
          dated January 29, 2020 (VB00000052)                             As to Ms. B1yant
                                                                          redacted

          Instagram Comments Viewed by Plaintiff
  322
          (VB0000007 l)

          Twitter Post & Profile of "baby boo," dated
  323
          January 31 , 2020 (VB00000096-97)

          Twitter Post & Profile of
  324     "AmericanAnswers. org/F acebook," dated
          February 7, 2020 (VB00000098-99)

          Twitter Post & Profile of "DRYX," dated
  325
          March 24, 2020 (VB00000l00-0 1)

          Twitter Post & Profile of "Princess Young,"
  326
          dated May 20, 2020 (VB00000102-03)

          LASD Letter to Brian Williams & Max           August 12, 2022   August 12, 2022
  328     Huntsman, dated March 4, 2020
          (VB00004 l 90)

          Search Auto-Populating "Kobe Bryant crash
  329
          pictures" (VB00004 l 97)

          Transcript - Excerpts of Ruby Cable LASD      August 12, 2022   August 12, 2022
 332A
          Interview




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Ex. No.                   Description                     Identified        Admitted

          Audio - Excerpts of Ruby Cable LASD          August 12, 2022   August 12, 2022
 332B
          Interview

          Transcript - Excerpts of Tony Imbrenda Fire August 15, 2022    August 15, 2022
 336A
          Dep 't Interview

          Audio -Excerpts of Tony Imbrenda Fire        August 15, 2022   August 15, 2022
 336B
          Dep 't Interview

          Transcript - Excerpts of Doug Johnson
 345A
          LASD Interview No. 2 (May 5, 2020)

          Audio-Excerpts of Doug Johnson LASD
 345B
          Interview No. 2 (May 5, 2020)

          Transcript - Excerpts of Doug Johnson Fire   August 12, 2022   August 12, 2022
 346A
          Dep't Interview No. 1 (July 24, 2020)

          Audio-Excerpts of Doug Johnson Fire          August 15, 2022   August 15, 2022
 346B
          Dep't Interview No. 1 (July 24, 2020)

          Transcript - Excerpts of Brian Jordan Fire   August 15, 2022   August 15, 2022
 348A
          Dep't Interview No. 1 (Apr. 6, 2020)

          Audio - Excerpts of Brian Jordan Fire Dep't August 15, 2022    August 15, 2022
 348B
          Interview No. 1 (Apr. 6, 2020)

          Transcript - Excerpts of Arlin Kahan Fire    August 18, 2022   August 24, 2022
 350A
          Dep 't Interview

          Audio - Excerpts of Arlin Kahan Fire Dep 't August 18, 2022    August 24, 2022
 350B
          Interview



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Ex. No.                   Description                     Identified        Admitted

          Transcript - Excerpts of Anthony Marrone     August 15, 2022   August 15, 2022
 357A
          Fire Dep 't Interview

          Audio - Excerpts of Anthony Marrone Fire     August 15, 2022   August 15, 2022
 357B
          Dep 't Interview

          Transcript - Excerpts of Rafael Mejia LASD August 12, 2022     August 12, 2022
 361A
          Interview

          Audio - Excerpts of Rafael Mejia LASD        August 12, 2022   August 12, 2022
 361B
          Interview

          Transcript - Excerpts of Ben Sanchez LASD August 22, 2022      August 22, 2022
 376A
          Interview No. 2 (May 5, 2020)

          Audio - Excerpts of Ben Sanchez LASD
 376B
          Interview No. 2 (May 5, 2020)

          Transcript - Excerpts of Erik Scott Fire     August 17, 2022   August 17, 2022
 377A
          Dep 't Interview

          Audio - Excerpts of Erik Scott Fire Dep 't   August 17, 2022   August 17, 2022
 377B
          Interview

          Summons in a Civil Action to Raul Versales
  388
          dated March 22, 2021

          Summons in a Civil Action to Joey Cruz
  389
          dated March 22, 2021

          COLA00 1422 - California Baj a Bar & Grill
  390     Surveillance Footage - 1/28/2020, 20:00-
          20:10



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Ex. No.                   Description                   Identified       Admitted

          COLA00 1423 - California Baja Bar & Grill
  391     Surveillance Footage - 1/28/2020, 20: 10-
          20:20

          COLA00 1425 - California Baja Bar & Grill
  392     Surveillance Footage - 1/28/2020, 20: 31-
          20:40

          COLA00 1426 - California Baja Bar & Grill
  393     Surveillance Footage - 1/28/2020, 20:40-
          20:51

          COLA00 1427 - California Baja Bar & Grill
  394     Surveillance Footage - 1/28/2020, 20: 51-
          21 :01

          COLA00 1428 - California Baja Bar & Grill
  395     Surveillance Footage - 1/28/2020, 2 1:01-
          21: 11

          COLA00 1429 - California Baja Bar & Grill
  396     Surveillance Footage - 1/28/2020, 2 1: 11 -
          21 :21

          COLA00 1433 - California Baja Bar & Grill
  397     Surveillance Footage - 1/28/2020, 2 1:52-
          22:03

          COLA00 1436 - California Baja Bar & Grill
  398     Surveillance Footage - 1/28/2020, 22:23-
          22:33




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Ex. No.                   Description                  Identified        Admitted

          COLA001438 - California Baja Bar & Grill
  399     Surveillance Footage - 1/28/2020, 22:44-
          22:46

          COLA001439 - California Baja Bar & Grill
  400     Surveillance Footage - 1/28/2020, 22:46-
          22:57

          Joey Cruz Cell Records, January 1 - March
  401     6, 2020 (Bates COLA035763-
          COLA035822)

          Rafael Mejia Cell Records, January 26 -
  402     March 4, 2020 (Bates COLA036079-
          COLA036662)

          Certificate of Authenticity for Mejia and
  403     V ersales Cell Records (VB0000413 6-
          VB00004150)

          Michael Russell Cell Records, January 2 -
  405     March 31 , 2020 (Bates COLA035626-
          COLA035746)

          Raul V ersales Cell Records, January 26 -
          March 4, 2020 (Bates COLA036079-
  406
          COLA036094, COLA036663-
          COLA037559)

          Douglas Johnson Cell Records, January 26 -
  408     March 4, 2020 (Bates COLA038063-
          COLA038538)




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Ex. No.                   Description                   Identified       Admitted

          AT&T Custodian of Records Certification
          and Accompanying Materials for Douglas
  409
          Johnson Cell Records, signed November 24,
          2021 (Bates COLA038539-COLA038552)

          Tony Imbrenda, Brian Jordan, & Arlin
          Kahan LAFD Cell Records, January 26 -
  4 11
          March 3, 2020 (Bates COLA037937-
          COLA037969)

          Verizon Custodian of Records Certification
          and Accompanying Materials for Shrout
          LASD, Miller LASD, Kelly Personal,
  4 12
          Imbrenda LAFD, Jordan LAFD, & Kahan
          LAFD Cell Records, signed November 8,
          2021 (Bates VB0000420 1-VB00004206)

          Tony Imbrenda Personal Cell Records,
  4 15    January 25 - March 3, 2020 (Bates
          C0LA035893-C0LA035906)

          Charter Custodian of Records Certification
          and Accompanying Materials for Tony
  4 16    Imbrenda Personal Cell Records, signed
          October 12, 2021 (Bates COLA035907-
          COLA035909)

          Brian Jordan Personal Cell Records, January
  4 17    26 - March 4, 2020 (Bates VB00003632-
          VB00004129)




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Ex. No.                   Description                   Identified       Admitted

          AT&T Custodian of Records Certification
          and Accompanying Materials for Brian
  4 18    Jordan Personal Cell Records, signed
          November 19, 202 1 (Bates VB000041 30-
          VB00004135)

          Arlin Kahan Personal Cell Records,
  420     December 27 - March 26, 2020 (Bates
          COLA035861 -COLA035880)

          Benjamin Sanchez Cell Records, January 26
  421     - March 3, 2020 (Bates COLA035910-
          COLA035933)

          Verizon Custodian of Records Certification
          and Accompanying Materials for Jauregui &
  422
          Sanchez Cell Records, signed October 25,
          2021 (Bates VB000041 98-VB00004200)

          Ruby Cable Cell Records, January 26 -
  424
          March 3, 2020 (Beg Bates COLA037970)

          T-Mobile Custodian of Records Certification
          and Accompanying Materials for Ruby
  425
          Cable Cell Records, signed November 17,
          2021 (Bates COLA037971-COLA038003)

          Stephanie Shrout & Scott Miller LASD Cell
  428     Records, January 26 - March 3, 2020 (Bates
          COLA037921 -C0LA037936)

          Travis Kelly Cell Records, January 26 -
  430     March 3, 2020 (Bates COLA038004-
          COLA038030)


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Ex. No.                  Description                      Identified        Admitted

          Christopher Jauregui Cell Records, January
  432     26 - March 3, 2020 (Bates COLA038031-
          COLA038058)

          LAFD Letter dated June 22, 2015, titled:     August 12, 2022   August 12, 2022
  434
          "Intention to Suspend" (COLA035403-08)

          LAFD Letter dated March 1, 20 18 re
  435
          Suspension (COLA035409-16)

          LAFD Investigation Report dated May 29,      August 18, 2022   August 18, 2022
  436
          2015 (COLA035417-28)

          LAFD Supplemental Investigation Report  August 12, 2022        August 12, 2022
  437
          dated November 1, 20 17 (COLA035429-37)

          LAFD Letter of Reprimand dated March 27,
  438
          2019 (COLA035438-41)

          LASD Letter to Doug Johnson dated August August 12, 2022       August 12, 2022
  439     8, 2020, titled: "NOTIFICATION LETTER"
          (COLA035220-24)

          Cellbrite Extraction Report and Facebook     August 15, 2022   August 15, 2022
  440     Messenger Messages between Henry Shue
          and Ralph Grande

          Photo of Detached Helicopter Tail
  441
          (COLA036077)

          Photo of Burning Helicopter Wreckage
  442
          (COLA036078)




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Ex. No.                   Description                     Identified        Admitted

          Transcript - Excerpts of Dennis Breshears    August 15, 2022   August 15, 2022
 465A
          Fire Dep't Interview

          Audio - Excerpts of Dennis Breshears Fire    August 15, 2022   August 15, 2022
 465B
          Dep 't Interview

          LA Times recording of Villanueva and
  470
          Valdez (audio only) (VB00004208)

          LA Times recording of Villanueva and
  47 1
          Valdez (with subtitles) (VB00004209)

          Defendant COLA's Responses to Plaintiffs     August 22, 2022
  478     First Set of Requests for Admission, dated
          November 24, 2021

          Defendant LACFD 's Responses to Plaintiffs
  479     First Set of Requests for Admission, dated
          November 29, 2021

          Defendant LASD' s Responses to Plaintiffs
  480     First Set of Requests for Admission, dated
          November 29, 2021

          Defendant COLA's Third Supplemental
  501     Responses to First Set of Interrogatories,
          dated March 31, 2021

          Defendant COLA's Responses to Second Set
  502
          of Interrogatories, dated April 19, 2021

          Defendant COLA's Responses to Third Set      August 12, 2022   August 12, 2022
  503
          of Interrogatories, dated October 1, 2021



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Ex. No.                    Description                         Identified        Admitted

          Defendant Michael Russell's Responses to
  504     First Set of Interrogatories, dated October 25,
          2021

          Recorded Call Between Deputies Nicolas      August 15, 2022         August 15, 2022
  510     Bonelli and Rafael Mejia - January 26, 2020
          (COLA006524)

  553     Performance Log                                   August 22, 2022   August 22, 2022

          1/26/20 Photographs Taken at Command              August 15, 2022   August 15, 2022
  601     Post by Rafael Mejia (COLA000773-
          COLA000775)

          1/26/20 Photographs Taken at Command
  602     Post by Raul Versales (COLA000762-
          COLA000771)

          3/6/20 Direct Order to Tony Imbrenda              August 17, 2022   August 17, 2022
  606
          (COLA0035086-COLA0035087)

          1/26/20 Photographs taken near the                August 22, 2022   August 22, 2022
  607     command post by Travis Kelly
          (COLA00078 1-COLA000796)

          11/3/21 Kroll Supplemental Investigative          August 17, 2022   August 17, 2022
  611
          Analysis

  612     POST Basic Course Workbook

          Policy and Ethics Chapter from Manual of
  613
          Policies and Procedures

  614     Updates to Leaming Domain 30


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Ex. No.                  Description                   Identified        Admitted

          Plaintiff Vanessa Bryant's Amended
          Responses & Objections to Defendant
  615
          County of Los Angeles' s Amended First Set
          of Interrogatories

          Plaintiff Vanessa Bryant's Responses &
          Objections to Defendant County of Los
  616
          Angeles's First Set of Requests for
          Admission

          Plaintiff Vanessa Bryant's Responses &
  617     Objections to Defendant County of Los
          Angeles's First Set of Interrogatories

          Plaintiff Vanessa Bryant's Responses &
          Objections to Defendant County of Los
  618
          Angeles' s Amended First Set of
          Interrogatories

          Plaintiff Vanessa Bryant's Second Amended
          Responses & Objections to Defendant
  619
          County of Los Angeles' s Amended First Set
          of Interrogatories

          Plaintiff Vanessa Bryant's Third Amended
          Responses & Objections to Defendant
  620
          County of Los Angeles' s Amended First Set
          of Interrogatories

          Plaintiff Vanessa Bryant's Amended
          Responses & Objections to Defendant
  621
          County of Los Angeles' s Second Set of
          Interrogatories




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Ex. No.                   Description                        Identified        Admitted

          Plaintiff Vanessa Bryant's Responses &
  622     Objections to Defendant County of Los
          Angeles' s Third Set of Interrogatories

          Los Angeles County General Records
  623
          Retention Schedule§ G.07.070

          LACFD 3/3/20 Litigation Hold re Willow
  624
          Incident (COLA035934 - COLA035941)

          Written confirmations of receipt of 3/3/20      August 17, 2022   August 17, 2022
  625     LACFD Litigation Hold re Willow Incident
          (COLA035934 - COLA03594 l)

          LACFD 7/21 /20 Revised Litigation Hold re
  626     Willow Incident (COLA03595 l -
          COLA035954)

          Written confirmations of receipt of 7/21/20     August 17, 2022   August 17, 2022
          Litigation Hold re Willow Incident
  627
          (COLA035955 -COLA035956;
          COLA035943)

          Forensic Extraction Report for Tony
  628     Imbrenda' s LACFD-issued cellphone
          (COLA035475)

          Forensic Extraction Report for Arlin Kahan' s
  629
          LACFD -issued cellphone (COLA03533 l)

          Forensic Extraction Report for Brian
  630     Jordan's LACFD -issued cellphone
          (COLA035332)




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Ex. No.                   Description                        Identified        Admitted

          Chain of Custody re LACFD-issued
  631     cellphones (Case No. 2:20-cv-09582-JFW-E
          Dkt. 151-63, 52-53)

          5/11/20 Notice re Notice of Civil Claim of
  632     Vanessa Bryant to Captain Salvador Becerra
          (COLA035976 - COLA035982)

          6/23/20 Notice re Notice of Civil Claim of
  633     Vanessa Bryant (COLA035969 -
          COLA035975)

          7/24/20 LASD Litigation Hold Notice             August 17, 2022   August 17, 2022
  634
          (COLA035957)

          Lt. Kallenberger's 7/24/20 response to          August 17, 2022   August 17, 2022
  635
          Litigation Hold Notice (COLA035958)

          7/24/20 email correspondence between Lt.
          Kallenberger and Janel Ramos re notifying
  636     "all appropriate involved units regarding the
          Bryant crash" (COLA035959 -
          COLA035960)

          7/27/20 email correspondence from Janel
  637     Ramos forwarding LASD Litigation Hold
          Notice (COLA035961 - COLA035962)

          7/27/20 email from Commander Valdez             August 17, 2022   August 17, 2022
  638     forwarding LASD Litigation Hold Notice
          (COLA035963 - COLA035964)




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Ex. No.                   Description                    Identified        Admitted

          7/27/20 email from Constitutional Policy
          Advisor Georgina Glaviano forwarding
  639
          LASD Litigation Hold Notice
          (COLA035965 - COLA035968)

          1/27/20 LA Times Article re Kobe Bryant's
          death in helicopter crash stuns the world,
          leaves L.A. grieving
  640
          (https://www.latimes.com/califomia/story/20
          20-01-27/kobe-bryant-killed-helicopter-
          crash)

          7/3/20 LA Times Article re Text messages    August 17, 2022   August 17, 2022
          reconstruct copter crash that killed Kobe
          Bryant, eight others
  641
          (https://www.latimes.com/sports/story/2020-
          07-03/reconstruct-of-kobe-bryant-copter-
          crash)

          12/21/21 LA Times Article re A deputy
          showed images in a bar of Kobe Bryant's
          body. Vanessa Bryant now wants justice
  642
          (https://www.latimes.com/califomia/story/20
          21-12-21 /vanessa-bryant-kobe-bryant-death-
          photos-lawsuit-la-county-sheriff)

          1/26/20 Tweet from RMG News
  643     (https://twitter.com/RMGNews/status/1 2215
          31361351061505)




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Ex. No.                   Description                      Identified         Admitted

          1/27/20 Fox 11 news video re Federal           August 12, 2022   August 12, 2022
          officials investigate deadly helicopter crash
          that killed nine, including Kobe Bryant
  644
          (https ://www.foxla.com/news/federal-
          officials-investigate-deadly-helicopter-crash-
          that-killed-nine-including-kobe-bryant)

          1/28/20 ABC7 news video re Kobe Bryant
          crash: Nest video captures audio of
  645     helicopter 's final moments
          (https :// abc7.com/kobe-bryant-crash-death-
          ring-video/5886910/)

          1/28/20 NTSB Calabasas, CA Helicopter
          Crash B-Roll video
  646
          (https ://www.youtube.com/watch ?v=GvjzF
          WbJJxo)

          1/28/20 RMG News video re Kobe Bryant, August 12, 2022           August 12, 2022
          his daughter Gianna and Seven others killed
  647     in Calabasas helicopter crash, California
          (https://www.youtube.com/watch?v=Ucfar2
          RUXkU)

          1/30/20 Reuters news video re Helicopter in
          Kobe Bryant crash lacked certificate to fly in
  648     fog (https://www.reuters.com/article/us-
          peop le-kobe-bryant-helicopter-
          idUSKBN l ZU0NL)

          1/31/20 ABC7 news video re SoCal
          congressman introduces bill to improve
  649     helicopter safety after Kobe Bryant crash
          (https://abc7news.com/helicopter-crash-
          calabasas-kobe-bryant-dead/5894224/)


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Ex. No.                   Description                     Identified        Admitted

          6/17/20 ABC World News Tonight news          August 12, 2022   August 12, 2022
          video re Investigation into helicopter crash
  650     that killed Kobe Bryant
          (https ://www.youtube.com/watch?v=5uef8V
          b4J7Y)

          2/11/20 ABC7 news video re New video      August 12, 2022      August 12, 2022
          shows wreckage from helicopter crash that
  651     killed Kobe Bryant, 8 others
          (https://www.youtube.com/watch?v=NerEjG
          L91IU)

          2/7 /20 Foxla.com Article re Preliminary
          report reveals no engine failure in deadly
          Kobe Bryant helicopter crash
  652
          (https ://www.foxla.com/news/preliminary-
          report-reveals-no-engine-failure-in-dead!y-
          kobe-bryant-helicopter-crash)

          2/9/2 1 Bloomberg Article re NTSB Finds
          Pilot Caused Kobe Bryant Crash by Flying
          Into Fog
  653
          (https ://www.bloomberg.com/news/articles/2
          021-02-09/kobe-bryant-pilot-failed-to-
          follow-training-to-avoid-fatal-crash)

          1/6/22 LA Daily News Article re LA County
          says it will prevail in Kobe Bryant crash
          photo lawsuit, but Vanessa Bryant presses on
  655     (https ://www.dailynews.com/2022/01 /06/la-
          county-says-it-will-prevail-in-kobe-bryant-
          crash-photo-lawsuit-but-vanessa-bryant-
          presses-on/)




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Ex. No.                   Description                     Identified     Admitted

          2/7 /20 WHYY.org Article re Probe: No signs
          of outward engine failure in Kobe Bryant
  657     crash (https://whyy.org/articles/probe-no-
          signs-of-outward-engine-failure-in-bryant-
          crash/)

          2/10/21 Mercury News Article re Terrain
          warning would not have averted Kobe
          Bryant helicopter crash, NTSB chair says
  658     (https ://www.mercurynews.com/2021 /02/l 0/
          terrain-warning-would-not-have-averted-
          kobe-bryant-helicopter-crash-ntsb-chair-
          says/)

          4/21 /20 USA Today Article re Families sue
          helicopter company in deadly Kobe Bryant
          crash, but do not name pilot
  661     (https://www.usatoday.com/story/sports/nba/
          2020/04/2 1/kobe-bryant-crash-families-sue-
          helicopter-company-©-name-
          pilot/2995005001/)

          6/17/20 Washington Post Article re Pilot in
          Kobe Bryant helicopter crash may have
          disoriented in fog, federal investigators say
          (https ://www.washingtonpost.com/local/traff
  662     icandcommuting/pilot-in-kobe-bryant-
          helicopter-crash-may-have-become-
          disoriented-in-fog-federal-investigators-
          say/2020/06/l 7/0c226af2-b0dc-11 ea-856d-
          5054296735e5_ story.html)

          Google search results for "Kobe Bryant crash
  663
          photos"



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Ex. No.                  Description                      Identified       Admitted

          Vanessa Bryant communications with Dr.
  664
          David Rice (VB00003588 - VB00003618)

          Records produced by Dr. David Rice
  665
          (RICE000000l - RICE0000l 10)

          Getty Images - Kobe Crash Premium High
          Res Photos
  666
          (https ://www.gettyimages.com/photos/kobe-
          crash)

          Vanessa Bryant Instagram Account and       August 19, 2022
  668     Posts - @vanessabryant
          (https ://www.instagram.com/vanessabryant)
 668A     Bryant Instagram Post, February 13, 2020


 668B     Bryant Instagram Post, March 31 , 2020       August 19, 2022   August 19, 2022


 668C     Bryant Instagram Post, April 8, 2020         August 19, 2022   August 19, 2022


 6681J    Bryant Instagram Post, April 13, 2020


 668b     Bryant Instagram Post, May 16, 2020          August 19, 2022   August 19, 2022


 668.F    Bryant Instagram Post, May 21, 2020          August 19, 2022   August 19, 2022


 668U     Bryant Instagram Post, June 18, 2020         August 19, 2022   August 19, 2022




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Ex. No.                    Description                    Identified       Admitted
 668H      Bryant Instagram Post, June 19, 2020


 66M       Bryant Instagram Post, July 5, 2020


 ()()~ J   Bryant Instagram Post, July 21 , 2020       August 19, 2022   August 19, 2022


 668K      Bryant Instagram Post, September 25, 2020   August 19, 2022   August 19, 2022


 66~L      Bryant Instagram Post, September 25, 2020   August 19, 2022   August 19, 2022


 668M      Bryant Instagram Post, December 15, 2020


 668N      Bryant Instagram Post, January 14, 202 1


 oo~U      Bryant Instagram Post, January 15, 202 1


 668P      Bryant Instagram Post, January 15, 202 1    August 19, 2022   August 19, 2022


 668~      Bryant Instagram Post, February 3, 202 1


 668K      Bryant Instagram Post, March 3, 202 1       August 19, 2022   August 19, 2022


 668S      Bryant Instagram Post, March 17, 202 1




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Ex. No.                  Description                   Identified        Admitted
 66~fl    Bryant Instagram Post, May 16, 2021


 66~U     Bryant Instagram Post, May 19, 2021


 bb~V     Bryant Instagram Post, June 3, 2021


 668W     Bryant Instagram Post, June 3, 2021


 66~X     Bryant Instagram Post, June 10, 202 1


 668Y     Bryant Instagram Post, June 19, 202 1


 668Z     Bryant Instagram Post, June 19, 202 1


bb~AA     Bryant Instagram Post, June 19, 202 1


668.AB    Bryant Instagram Post, June 28, 202 1


668AC     Bryant Instagram Post, June 29, 2021     August 19, 2022    August 19, 2022


668AU     Bryant Instagram Post, July 3, 2021


668AE     Bryant Instagram Post, July 4, 2021




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Ex. No.                  Description                   Identified        Admitted
668A.F    Bryant Instagram Post, August 1, 202 1


668AG     Bryant Instagram Post, August 2, 202 1


661SAH    Bryant Instagram Post, August 3, 202 1


668Al     Bryant Instagram Post, August 4, 202 1


668AJ     Bryant Instagram Post, August 6, 202 1


668AK     Bryant Instagram Post, August 6, 202 1


668AL     Bryant Instagram Post, August 22, 202 1


661SAM    Bryant Instagram Post, August 29, 202 1


668A N    Bryant Instagram Post, August 29, 202 1


668AU     Bryant Instagram Post, August 29, 202 1


668AP     Bryant Instagram Post, August 30, 202 1


668A~     Bryant Instagram Post, August 30, 202 1




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Ex. No.                    Description                 Identified        Admitted
668AK       Bryant Instagram Post, August 30, 2021


668AS       Bryant Instagram Post, August 30, 2021


oo8A l      Bryant Instagram Post, August 30, 2021


668AU       Bryant Instagram Post, August 30, 2021


668AV       Bryant Instagram Post, August 31 , 2021


668AW       Bryant Instagram Post, August 31 , 2021


668AX       Bryant Instagram Post, August 31 , 2021


bb8AY       Bryant Instagram Post, August 31 , 2021


668AZ       Bryant Instagram Post, August 31 , 2021


668BA       Bryant Instagram Post, August 31 , 2021


668BB       Bryant Instagram Post, September 6, 2021


668.1::SC   Bryant Instagram Post, September 7, 2021




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Ex. No.                      Description                     Identified       Admitted
66~BU         Bryant Instagram Post, September 14, 2021


668BE         Bryant Instagram Post, September 14, 2021


oolS.1:11:<   Bryant Instagram Post, September 14, 2021


66Kl::3li     Bryant Instagram Post, September 16, 2021


668BH         Bryant Instagram Post, September 19, 2021


 66~Bl        Bryant Instagram Post, October 31 , 2021    August 19, 2022   August 19, 2022


f,f,s-1 KI
 - - -- -     Bryant Instagram Post, October 31 , 2021    August 19, 2022   August 19, 2022


oolStlK       Bryant Instagram Post, November 1, 202 1


66~BL         Bryant Instagram Post, November 2, 202 1


668BM         Bryant Instagram Post, November 2, 202 1


66~BN         Bryant Instagram Post, December 8, 202 1


668BO         Bryant Instagram Post, December 19, 2021




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Ex. No.                   Description                         Identified       Admitted
668BP     Bryant Instagram Post, December 24, 2021         August 19, 2022   August 19, 2022


668BQ     Bryant Instagram Post, January 5, 2021


oo~BK     Bryant Instagram Post, January 8, 2021



          Complaint for Damages, Urbieta v. Bryant,
  669     et al., Orange County Superior Court, Case
          No. 30-2020-01174715-U-FR-CJC

          Notice of Settlement of Entire Case, Urbieta
          v. Bryant, et al. , Orange County Superior
  670
          Court, Case No. 30-2020-01174715-U-FR-
          CJC

          Request for Dismissal, Urbieta v. Bryant, et
  671     al., Orange County Superior Court, Case No.
          30-2020-01174715-U-FR-CJC

          Joint Stipulation of Dismissal with Prejudice,
          Bryant, et al. v. Island Express Helicopters,
  672     Inc., et al. , United States District Court,
          Central District of California, Case No. 2:20-
          cv-08953 FMO (PVCx) [Dkt. 121.]

          Order Dismissing Action with Prejudice re
          Bryant Plaintiffs, Bryant, et al. v. Island
          Express Helicopters, Inc., et al. , United
  673
          States District Court, Central District of
          California, Case No. 2:20-cv-08953 FMO
          (PVCx) [Dkt. 124.]



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Ex. No.                    Description                        Identified        Admitted

          Joint Stipulation of Dismissal with Prejudice,
          Bryant, et al. v. Island Express Helicopters,
  674     Inc., et al. , United States District Court,
          Central District of California, Case No. 2:20-
          cv-08953 FMO (PVCx) [Dkt. 125.]

          Order Dismissing Action, Bryant, et al. v.
          Island Express Helicopters, Inc., et al. ,
  675     United States District Court, Central District
          of California, Case No. 2:20-cv-08953 FMO
          (PVCx) [Dkt. 139.]

          Los Angeles County Code of Ordinances
  676     Title 5, Appendix 1 Civil Service Rules §
          18.031 Discipline

          LACFD Code of Ethics and Oath of Office - August 22, 2022          August 22, 2022
  677
          V2-Cl-Sl 10/28/21 Rules and Regulations

          LASD Manual of Policy and Procedures: 5-         August 12, 2022   August 12, 2022
  678
          05/060.10 - Photographs

          LASD Manual of Policy and Procedures: 5-
  679     09/090.00 - Dead Bodies - Homicides,
          Suicides, Accidental and Natural

          LASD Manual of Policy and Procedures: 5-
  680     09/475.00 Photographs/Recordings at Scenes
          Where Human Remains are Present

          California Commission on Peace Officer
  681     Standards and Training - Leaming Domain
          29 : Traffic Collision Investigation




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Ex. No.                   Description                      Identified        Admitted

          California Commission on Peace Officer
  682     Standards and Training - Leaming Domain
          1: Leadership, Professionalism, and Ethics

          California Commission on Peace Officer
  683     Standards and Training - Leaming Domain
          00: Becoming an Exemplary Peace Officer

          California Commission on Peace Officer        August 15, 2022   August 15, 2022
  684     Standards and Training - Leaming Domain
          30: Crime Scenes, Evidence, and Forensics

          LASD Manual of Policy and Procedure,          August 15, 2022   August 15, 2022
  685
          Volume 3 - Chapter 1 : Policy and Ethics

          International Civil Aviation Organization,
          Annex 13 to the Convention on International
  686
          Civil Aviation - Aircraft Accident and
          Incident Investigation

          LASD Emergency Operating Procedure 2-2
  687
          Air Disaster (Ground and/or Sea)

          Brian Jordan text messages from January-
  688
          February 2020 (JORDAN00000 l -11)

          Plaintiff Christopher Chester's Response to
  689
          Amended First Set of Interrogatories

          Plaintiff Christopher Chester's Responses
  690     and Objections to Amended First Set of
          Interrogatories




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Ex. No.                   Description                      Identified        Admitted

          Plaintiff Christopher Chester's Response to
  691
          Second Set of Interrogatories

          Plaintiff Christopher Chester's Response to
  692
          Third Set of Interrogatories

          Plaintiff Christopher Chester's Response to
  693
          First Set of Requests for Admission

          Additional Brian Jordan text messages from
  694
          January-February 2020

  695

  696     Stipulation: Fact Agreed Upon by the Parties August 16, 2022    August 16, 2022

  697     Picture                                       August 19, 2022

  698     Picture                                       August 19, 2022

  700     Picture                                       August 19, 2022




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